        Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 1 of 7



                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION


 MAVIS CALDWELL,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                      CASE NO. 2:19-cv-00077

 BANK OF AMERICA, N.A.,
                                                       DEMAND FOR JURY TRIAL
              Defendant.


                                          COMPLAINT

         NOW comes MAVIS CALDWELL (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of BANK OF AMERICA, N.A.

(“Defendant”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq., for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1367, as the action arises

under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Southern District of Texas and a substantial portion the events or omissions giving rise to

the claims occurred within the Southern District of Texas.



                                                 1
      Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 2 of 7



                                             PARTIES

   4. Plaintiff is a natural person over 18 years-of-age residing in Nueces County, Texas, which

is located within the Southern District of Texas.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is engaged in the business of offering credit services and collecting or

attempting to collect, directly or indirectly, debts owed or due using the mail and telephone from

consumers across the country, including consumers located in the state of Texas. Defendant a

corporation headquartered in North Carolina, with its principal place of business located at 100

North Tyron Street, Charlotte, North Carolina 28255.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                FACTS SUPPORTING CAUSES OF ACTION

   9. Several years ago, Plaintiff obtained a line a credit through Defendant.

   10. Around late 2017, Plaintiff suffered through a personal tragedy that caused her severe

injuries and hospitalization.

   11. Consequently, due to financial hardship, Plaintiff fell behind on her scheduled payments

to Defendant, thus incurring debt (“subject debt”).

   12. Around late 2017, Plaintiff began receiving calls to her cellular phone, (972) XXX-4447,

from Defendant seeking to collect on the subject debt.




                                                    2
       Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 3 of 7



    13. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -4447. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

    14. Defendant mainly uses the phone number (800) 432-1000 when placing phone calls to

Plaintiff’s cellular phone. Upon information and belief, Defendant has used additional phone

numbers when placing calls to Plaintiff’s cellular phone.

    15. Upon information and belief, the above-referenced phone number ending in -1000 is

regularly utilized by Defendant during its debt collection activity.

    16. During answered calls, Plaintiff has been subjected to a noticeable pause, causing Plaintiff

to say “hello” several times, before being connected to a live representative.

    17. Upon speaking with one of Defendant’s representatives, Plaintiff was informed that

Defendant was attempting to collect upon the subject debt.

    18. Plaintiff notified Defendant that she was unable to make payment and demanded that

Defendant stop contacting her.

    19. Despite Plaintiff’s efforts, Defendant continued to regularly call her cellular phone for

several months thereafter.

    20. Plaintiff has received not less than 20 phone calls from Defendant since asking it to stop

calling.

    21. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    22. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies collection telephone calls,



                                                  3
      Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 4 of 7



emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.

          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   24. Plaintiff repeats and realleges paragraphs 1 through 23 as though fully set forth herein.

   25. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) or prerecorded messages

without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment

which has the capacity...to store or produce telephone numbers to be called, using a random or

sequential number generator; and to dial such numbers.”

   26. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone.   The noticeable pause that Plaintiff experienced upon answering

Defendant’s calls, as well as the fact that Plaintiff had to repeatedly say “hello” before she was

connected with a live representative, is instructive that an ATDS was being utilized to generate the

phone calls. Additionally, Defendant’s continued contacts after Plaintiff demanded that the phone

calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and frequency

of Defendant’s contacts establishes the involvement of an ATDS.

   27. Defendant violated the TCPA by placing at least 20 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to Defendant

was specifically revoked by Plaintiff’s demands that it cease contacting her.

   28. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).



                                                 4
      Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 5 of 7



   29. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, MAVIS CALDWELL, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
      consumer debt; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


               COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   30. Plaintiff restates and realleges paragraphs 1 through 29 as though fully set forth herein.

   31. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   32. Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. § 392.001(6).

   33. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   34. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,



                                                5
      Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 6 of 7



or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   35. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

20 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately submit a payment. Rather than

understanding Plaintiff’s situation and abiding by her wishes, Defendant continued in its harassing

campaign of phone calls in hopes of extracting payment.

   36. Upon being told to stop calling, Defendant had ample reason to be aware that it should not

continue its harassing calling campaign. Yet, Defendant consciously chose to continue placing

systematic calls to Plaintiff’s cellular phone knowing that its conduct was unwelcome.

           b. Violations of TDCA § 392.304

   37. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.304(19) prohibits a debt collector from

“using any . . . false representation or deceptive means to collect a debt or obtain information

concerning a consumer.”

   38. Defendant violated the TDCA through the implicit misrepresentations made on phone calls

placed to Plaintiff’s cellular phone. Through its conduct, Defendant misleadingly represented to

Plaintiff that it had the lawful ability to continue contacting her cellular phone using an automated

system absent her consent. Such lawful ability was revoked upon Plaintiff demanding that

Defendant stop calling her cellular phone, illustrating the deceptive nature of Defendant’s conduct.

   WHEREFORE, Plaintiff, MAVIS CALDWELL, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

                                                 6
      Case 2:19-cv-00077 Document 1 Filed on 03/07/19 in TXSD Page 7 of 7




   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
      consumer debt; and

   g. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: March 7, 2019                               Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)               s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                   Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                              Counsel for Plaintiff
Admitted in the Southern District of Texas         Admitted in the Southern District of Texas
Sulaiman Law Group, Ltd.                           Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                            Lombard, Illinois 60148
(630) 568-3056 (phone)                             (630) 581-5858 (phone)
(630) 575-8188 (fax)                               (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                           thatz@sulaimanlaw.com




                                              7
